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                                                                                                      0
                             UNITED STATES DISTRICT COURT                                            ` ;T COUR T
                             SOUTHERN DISTRICT OF GEORGIA
                                 STATESBORO DIVISIO N

UNITED STATES OF AMERICA                                SUPERCEDING
                                                        INDICTMENT NO . C
V.                                                                                       SO . U,ISL OF GA .
                                                        VIO : 21 U.S.C. § 841(a)(1 )
RICHARD HALL and                                                Possession with Intent to Distribute
SHANNA CLARK                                                    50 Grams or More of
                                                                Methamphetamin e


               ORDER OF DISMISSAL WITH PREJUDICE OF DEFENDANT
                             SHANNA CLARK ONL Y

        Pursuant to Rule 48 (a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorn ey for the Southe rn Distri ct of Georgia hereby dismisses

WITH PREJUDICE defendant SHANNA CLARK from this Indictment . The government shows that

her co-defendant has pled guilty to the subject charge an d exculpated her from knowing involvement

in same , and as such, further proceedings against her at this time are not in the interests of justice .

                                                        Respectfully submitted,
                                                        EDMUND A . BOOTH, JR.
                                                        ACTING UNITED STATES ATTORNE Y




100 Bull Street                                               n L. NTullough
Savannah , GA 31401                                     Assistant United States Attorney
(912) 652-4422

                                         LEAVE OF COURT

Leave of Court is GRANTED for the filing of the foregoing dismissal with prejudice of the defendant
SHANNA CLARK from this Indictment .

                SO ORDERED, this day of , 2007 .



                                                         Edenfiel d
                                                Judge, United Stags District Court
                                                Southern District of Georgia
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                                   CERTIFICATE OF SERVIC E

       The undersigned hereby certifies that a true and correct copy of the foregoing document has
been delivered to counsel of record by :

                        U .S. Mail addressed to :

                                      Harry D. Dixon , Jr., Esq,
                                       7 East Congress Street
                                              Suite 71 2
                                       Savannah , Ga. 31401
                                              644-6700
                                           644-6702 (fax)

                                    Evelyn Stembridge Hubbard
                                           P.O. Box 1704
                                     Sylvania, GA 30467-1704
                                           912/564-7421
                                         912/564-2746(fax)




                      )Jnd delivery; or

                       Facsimile, followed by U .S . Mail .


                               This    .7 day of        ,~ ~-~              , 2007 .


                                               EDMUND A . BOOTH, JR .
                                               ACTING UNITED STATES ATTORNE Y




                                               Darren L . McCullough
                                               Assistant United States Attorney
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